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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF KENTUCKY
                                    LEXINGTON DIVISION


    In re:
                                                              Chapter 11
    JBB LIQUIDATING 2011 INC.,
                                                              Case No. 10-53593 (tnw)
        (f/k/a JB BOOKSELLERS, INC.), et al.,
                                                              Jointly Administered
                             Debtors.1


       OFFICIAL COMMITTEE OF UNSECURED CREDITORS' FIRST OMNIBUS
    OBJECTION TO CLAIMS PURSUANT TO SECTION 502(b) OF THE BANKRUPTCY
                 CODE AND BANKRUPTCY RULES 3003 AND 3007

             The Official Committee of Unsecured Creditors (the "Committee") of the above-

captioned debtors and debtors-in-possession (the "Debtors"), by and through its undersigned

counsel, hereby objects (this "Objection") to certain claims (the "Disputed Claims") filed against

certain of the Debtors, listed on Exhibits A through G annexed to the Declaration of Steven A.

San Filippo in Support of Official Committee of Unsecured Creditors' First Omnibus Objection

to Claims Pursuant to Section 502(b) of the Bankruptcy Code and Bankruptcy Rules 3003 and

3007 (the "San Filippo Declaration") submitted contemporaneously herewith.

             In support of this Objection, the Committee respectfully states as follows:

                                              BACKGROUND

             1.     The Debtors commenced these cases by filing voluntary petitions for relief under

chapter 11 of the Bankruptcy Code on November 11, 2010 (the "Petition Date"). Pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors operated their businesses and are

managing their affairs as debtors-in-possession. As of the date hereof, no trustee or examiner


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 The Debtors in these chapter 11 cases, along with the last four digits of each debtor's federal tax identification
number, are: JBB Liquidating 2011 Inc. (f/k/a JB Booksellers, Inc.) (5130); JBB Liquidating 2011 LLC (f/k/a
Joseph-Beth Booksellers, LLC) (6343); and JBC Liquidating 2011 LLC (f/k/a Joseph-Beth Café, LLC) (5705). The
corporate headquarters address of these Debtors is 1727 Riverside Drive, Cincinnati, OH 45202.
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has been appointed in any of these chapter 11 cases. On November 19, 2010, the United States

Trustee for the Eastern District of Kentucky appointed the Committee.

       2.      Prior to the Petition Date, the Debtors operated eight full-service retail

bookstores, offering a wide selection of recently released and classic books along with music,

video, magazines, and other reading- and gift-related items, along with cafes attached to several

of the bookstores. The Debtors also operated a health-and-wellness niche bookstore located in

the Cleveland Clinic in Cleveland, Ohio.

       3.      On April 20, 2011, the Debtors conducted an auction for the sale of substantially

all of their assets, resulting in successful bids for (i) the Debtors' bookstore locations in

Lexington, Kentucky, Cincinnati, Ohio, and Cleveland, Ohio as a going concern and (ii) the right

to sell the inventories of the Debtors' bookstore locations in Memphis, Tennessee and

Fredericksburg, Virginia through going-out-of-business sales. Subsequent to the auction, the

liquidation bidder entered into an agreement to sell the inventory of the Memphis, Tennessee

bookstore to a separate going-concern purchaser. On April 28, 2011, the Court entered an Order

approving the sales of the Debtors' assets [Docket No. 507].

       4.      On June 10, 2011, the Debtors and the Committee filed the Joint Plan of

Liquidation with respect to the Debtors (the "Plan") [Docket No. 535]. The Debtors' general

unsecured creditors were the only class entitled to vote to accept or reject the Plan, and the

Debtors filed the Declaration of Solicitation and Voting Representative Regarding Tabulation of

Votes in Connection with the Joint Plan of Liquidation with the Court on August 16, 2011,




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indicating that creditors had voted overwhelmingly to accept the Plan [Docket No. 586]. The

Court, in turn, entered an Order confirming the Plan on August 24, 2011 [Docket No. 603].2

                                BAR DATES AND PROOFS OF CLAIM

         5.       On January 27, 2011, the Court entered an order establishing March 15, 2011 as

the deadline for any party asserting a prepetition claim against the Debtors to file a proof of

claim form in respect of such claim (the "General Bar Date") [Docket No. 260].

         6.       On June 30, 2011, the Court entered an order establishing July 29, 2011 at 5:00

p.m. (Prevailing Eastern Time) as the last date for any party asserting an administrative expense

claim against the Debtors arising between the Petition Date and June 30, 2011 to file a proof of

claim form relating thereto (the "Admin Bar Date" and collectively with the General Bar Date,

the "Bar Dates") [Docket No. 260].

         7.       To date, approximately nine hundred proofs of claim have been filed in the

Debtors' bankruptcy cases.

                  JURISDICTION, VENUE AND STATUTORY PREDICATES

         8.       This Court has jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory bases for the relief requested

herein are section 502 of the Bankruptcy Code and Bankruptcy Rules 3003 and 3007.

                                            RELIEF REQUESTED

         9.       The Committee respectfully requests that the Court (a) modify or (b) disallow and

expunge certain Disputed Claims, as set forth herein, because the Disputed Claims (i) were filed

by parties to whom the Debtors owe no liability, (ii) contain incorrect amounts, (iii) were filed

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  On the effective date of the Plan, all of the Debtors' remaining assets to vest in the liquidating trustee appointed
pursuant to the Plan. Under the terms of the Plan, the liquidating trustee will prosecute this Objection in the place of
the Parties if this Objection remains pending after the effective date of the Plan.

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after the applicable bar date had expired, (iv) asserted a claim in the improper class, (v) were

amended and superceded by or are duplicative of another claim or claims, (vi) were filed without

adequate supporting documentation, or (vii) were satisfied after the Petition Date.

                              BASIS FOR RELIEF REQUESTED

       10.     Section 502(b) of the Bankruptcy Code provides in pertinent part that:

               the court, after notice and a hearing, shall determine the amount of
               [a] claim in lawful currency of the United States as of the date of
               the filing of the petition, and shall allow such claim in such
               amount, except to the extent that . . . such claim is unenforceable
               against the debtor and property of the debtor, under any agreement
               or applicable law for a reason other than because such claim is
               contingent or unmatured.

11 U.S.C. § 502(b)(1).

A.     No-Liability Claims

       11.     The Disputed Claims set forth on Exhibit A to the San Filippo Declaration (the

"No-Liability Claims") are those claims filed by parties to whom the Debtors owe no liability.

The No Liability Claims do not represent valid claims against the Debtors' estates.

       12.     Pursuant to section 101 of the Bankruptcy Code, a creditor holds a claim against a

bankruptcy estate only to the extent that it has a "right to payment" for the asserted liability. See

11 U.S.C. §§ 101(5) and 101(10).          By contrast, a claimant has no right to payment—and

therefore no claim—to the extent that the asserted liability is not due and owing by a debtor.

       13.     The Committee believes, based on a review of the Debtors' books and records,

that the claimants included on Exhibit A have no right to payment, and that the No-Liability

Claims therefore are asserted in error.

       14.     The Committee objects to the No Liability Claims because the Debtors' estates

(through the Liquidating Trust, as defined in the Plan) should not be required to pay a claimant to



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whom the Debtors owed no prepetition liability, at the expense of general unsecured creditors,

and hereby respectfully requests that each of the No Liability Claims set forth on Exhibit A be

disallowed in its entirety and expunged.

B.     Incorrect Amount Claims

       15.     The Disputed Claims listed on Exhibit B annexed to the San Filippo Declaration

(the "Incorrect Amount Claims") list claim amounts that are inconsistent with the Debtors' books

and records or with applicable provisions of the Bankruptcy Code.

       16.     As noted above, pursuant to section 101 of the Bankruptcy Code, a creditor holds

a claim against a bankruptcy estate only to the extent that it has a "right to payment" for the

asserted liability. See 11 U.S.C. §§ 101(5) and 101(10).

       17.     The Committee believes, based on a review of the Debtors' books and records,

that the claimants listed on Exhibit B have a right to payment that is less than the amount of their

Disputed Claim. The Committee hereby objects to the Incorrect Amount Claims and requests

that an order be entered allowing such claims only in the amounts and classifications set forth in

the "Modified Amount" columns of Exhibit B to the San Filippo Declaration.

C.     Late-Filed Claims

       18.     The Disputed Claims set forth on Exhibit C to the San Filippo Declaration (the

"Late-Filed Claims") must be disallowed because they were filed after the applicable Bar Date

had expired.

       19.     A claim shall not be allowed if "proof of such claim is not timely filed, except to

the extent tardily filed as permitted under . . . the Federal Rules of Bankruptcy Procedure[.]" 11

U.S.C. § 502(b)(9). Absent proof of excusable neglect or good cause, failure to timely file a




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proof of claim is grounds for disallowance of a creditor's claim. See, e.g., In re M.J. Waterman

& Assocs., Inc., 227 F.3d 604, 608 (6th Cir. 2000).

       20.     Claimants asserting prepetition claims against the Debtors were required to file

proofs of claim on or before the General Bar Date. Claimants asserting administrative expense

claims against the Debtors arising between the Petition Date and June 29, 2011 were required to

file proofs of claim on or before the Admin Bar Date. Each claimant that filed a Late-Filed

Claim did so after the applicable Bar Date had expired. Accordingly, the Committee objects to

the Late-Filed Claims as time-barred and requests that the Court enter an order disallowing in

full and expunging the Late-Filed Claims.

D.     Incorrect Class Claims

       21.     The Disputed Claims set forth on Exhibit D to the San Filippo Declaration (the

"Incorrect Class Claims") incorrectly classify the asserted claim amounts.

       22.     As noted above, pursuant to section 101 of the Bankruptcy Code, a creditor holds

a claim against a bankruptcy estate only to the extent that it has a "right to payment" for the

asserted liability. See 11 U.S.C. §§ 101(5) and 101(10).

       23.     The Committee believes, based on a review of the Debtors' books and records,

that each claimant listed on Exhibit D has a right to payment from the Debtors' estates, but that

such right to payment is of a different classification than was asserted on the claimant's proof of

claim form. The Committee hereby objects to the Incorrect Class Claims and requests that an

order be entered allowing such claims only in the amounts and classifications set forth in the

columns entitled "Modified Claim Classification" on Exhibit D to the San Filippo Declaration.




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E.         Amended Claims

           24.   The Disputed Claims listed on Exhibit E to the San Filippo Declaration are those

claims that have been amended and superceded by, or are otherwise duplicative of, the

subsequently filed proofs of claim identified under the column titled "Remaining Claim Number"

(the "Amended Claims").

           25.   The Amended Claims no longer represent valid claims against the Debtors'

estates.     Failure to disallow the Amended Claims could result in the applicable claimants

receiving an unwarranted double recovery against the Debtors' estates, to the detriment of other

unsecured creditors in these cases.

           26.   The Committee hereby objects to the allowance of each of the Amended Claims

and respectfully request that the Disputed Claims under the column heading "Duplicate or

Amended Claim to be Disallowed" be disallowed in their entirety and expunged. This relief will

(i) prevent the holders of Amended Claims from obtaining a double recovery on account of any

single obligation and (ii) limit such claimants to a single claim for those amounts currently

asserted by the claimant. This relief is necessary to prevent the allowance of claims that, by their

nature, have been duplicated or superceded, yet remain on the Debtors' claims register.

           27.   If the Committee's objection to the Amended Claims is sustained, the claims listed

under the column heading "Remaining Claim Number" will remain on the Claims Register,

subject to the Committee's right to object on any other permissible grounds under bankruptcy or

nonbankruptcy law, including grounds other than those asserted in this Objection. Therefore,

any claimant holding an Amended Claim will suffer no prejudice by having such claim

disallowed.




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F.     Insufficient Documentation Claim

       28.     The Disputed Claim identified on Exhibit F to the San Filippo Declaration was

filed without sufficient supporting documentation to ascertain the basis or amount of the liability

being asserted (the "Insufficient Documentation Claim").

       29.     To comply with the requirements for filing a claim, "a claimant must allege facts

sufficient to support a legal basis for the claim. If the assertions in the filed claim meet this

standard of sufficiency, the claim is prima facie valid pursuant to Rule 3001(f) of the Federal

Rules of Bankruptcy Procedure." In re Planet Hollywood Int'l, 274 B.R. 391, 394 (Bankr. D.

Del. 2001) (citation omitted).

       30.     The claimant asserting the Insufficient Documentation Claim failed to allege facts

to support its claim and after reasonable efforts to research such claim, the Committee finds no

basis for the Insufficient Documentation Claim. Therefore, the Insufficient Documentation

Claim is not prima facie valid. See In re Allegheny Int'l, Inc., 954 F.2d 167, 173 (3d Cir. 1992)

("[T]he claimant must allege facts sufficient to support the claim. If the averments in his filed

claim meet this standard of sufficiency, it is 'prima facie' valid."). Therefore, the Committee

objects to the Insufficient Documentation Claim and requests that an order be entered

disallowing in full and expunging the Insufficient Documentation Claim.

G.     Satisfied Claims

       31.     The Disputed Claims listed on Exhibit G to the San Filippo Declaration are claims

that were scheduled in the Debtors' schedules of assets and liabilities, but which were satisfied

after the Petition Date in the manner set forth in the column of Exhibit G entitled "Basis for

Removal from Unsecured Creditor Pool" (the "Satisfied Claims").




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        32.     As noted above, pursuant to section 101 of the Bankruptcy Code, a creditor holds

a claim against a bankruptcy estate only to the extent that it has a "right to payment" for the

asserted liability. See 11 U.S.C. §§ 101(5) and 101(10).

        33.     Because the Satisfied Claims have been paid or otherwise satisfied, the creditors

holding the Satisfied Claims no longer have a right to payment from the Debtors' estates on

account of the Satisfied Claims. Accordingly, the Committee objects to the Satisfied Claims and

requests that an order be entered disallowing in full and expunging the Satisfied Claims.

        34.     The Disputed Claims described herein are unenforceable against the Debtors'

estates because they (i) were filed by parties to whom the Debtors owe no liability, (ii) contain

incorrect amounts, (iii) were filed after the applicable bar date had expired, (iv) asserted a claim

in the improper class, (v) were amended and superceded by or are duplicative of another claim or

claims, (vi) were filed without adequate supporting documentation, or (vii) were satisfied during

the course of the Debtors' bankruptcy cases. Therefore, pursuant to § 502(b) of the Bankruptcy

Code and Bankruptcy Rule 3007, the Court should disallow or modify each Disputed Claim as

set forth herein.

                             RESPONSES TO THE OBJECTION

        35.     Filing and Service of Responses: To contest this Objection, a claimant must file

and serve a written response hereto (a "Response") so that it is actually received by the Clerk of

the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern Time) on September 21, 2011.

Claimants should locate their names and claims in the Exhibits annexed to the San Filippo

Declaration, and read the Exhibits and the Proposed Order carefully. A Response must address

each ground upon which the Committee objects to a particular claim. A hearing (the "Hearing")

to consider this Objection will be held on September 28, 2011 at 9:30 a.m. (Prevailing Eastern



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Time), before the Honorable Tracey N. Wise, United States Bankruptcy Judge, at the United

States Bankruptcy Court for the Eastern District of Kentucky, Third Floor Courtroom, 100 East

Vine Street, Lexington, Kentucky 40507.

       36.    Every Response shall be filed and served upon the following entities at the

following addresses: (a) Office of the Clerk of the United States Bankruptcy Court, 100 East

Vine Street, Lexington, Kentucky 40507; (b) Frost Brown Todd LLC, 250 West Main Street,

Suite 2800, Lexington, Kentucky 40507, Attention: Adam R. Kegley, Esq.; and (c) Lowenstein

Sandler PC, 65 Livingston Avenue, Roseland, New Jersey 07068, Attention: Bruce Buechler,

Esq. and Andrew Behlmann, Esq.

       37.    Content of Responses: Every Response to this Objection must contain, at a

minimum, the following:

                 (a) a caption setting forth the name of the Bankruptcy Court,
                 the above-referenced case number, and the title of the
                 Objection to which the Response is directed; the name of the
                 claimant and description of the basis for the amount of the
                 claim;

                 (b) a concise statement setting forth the reasons why a
                 particular claim should not be modified or disallowed for the
                 reasons set forth in the Objection, including, but not limited to,
                 the specific factual and legal bases upon which the claimant
                 will rely in opposing the Objection at the Hearing;

                 (c) all documentation or other evidence of the claim in
                 question, to the extent not already included with the claimant's
                 proof of claim, upon which the claimant will rely in opposing
                 the Objection at the Hearing;

                 (d) the name, address, telephone number, and fax number of
                 the person(s) (which may be the claimant or a legal
                 representative thereof) possessing ultimate authority to
                 reconcile, settle, or otherwise resolve the claim on behalf of the
                 claimant; and




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                   (e) the name, address, telephone number, and fax number of
                   the person(s) (which may be the claimant or a legal
                   representative thereof) to whom the Committee should serve
                   any reply to the Response.

       38.     Service Address: If a Response contains an address for the claimant different

from that stated on the claim, the address in the Response shall constitute the service address for

future service of papers upon the claimant with respect to the Objection unless and until the

Committee receives written notice from the claimant or the claimant's counsel of a changed

service address.

       39.     Timely Response Required; Hearing; Replies: If a Response is properly and

timely filed and served in accordance with the above procedures, the Committee will endeavor to

reach a consensual resolution with the claimant. If no consensual resolution is reached, the

Court will conduct the Hearing with respect to the Objection and the Response on September 28,

2011 at 9:30 a.m. (Prevailing Eastern Time), or such other date and time as parties filing

Responses may be notified. Only those Responses made in writing and timely filed and received

in accordance herewith will be considered by the Court at any such hearing. The Committee

reserves the right to adjourn the Hearing with respect to a specific objection set forth herein and

any Response thereto.

       40.     If a claimant whose claim is subject to the Objection, and who is served with the

Objection, fails to file and serve a timely Response in compliance with the foregoing procedures,

the Committee will present to the Court an appropriate order modifying or disallowing the

Disputed Claim as set forth herein, without further notice to the claimant.

       41.     The Committee may, at its option, file and serve a reply to a claimant's Response

no later than three days prior to any hearing on the Objection. This Objection shall constitute a

request to the Court for leave to file such reply.

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                                  RESERVATION OF RIGHTS

       42.     The Committee reserves all rights to object to any of the Disputed Claims on any

other or further grounds, whether or not set forth herein.

                                       NO PRIOR REQUEST

       43.     No prior request for the relief sought herein has been made by the Committee to

this or any other Court.

                                              NOTICE

       44.     A copy of this Objection has been served electronically to all parties receiving

notice through the Court's CM/ECF system and by First Class Mail, postage prepaid, to each of

the claimants identified on Exhibits A through G to the San Filippo Declaration. The Committee

submits that in light of the relief requested herein, no other or further notice is required.

                                          CONCLUSION

       WHEREFORE, the Committee respectfully requests that the Court enter an order

substantially in the form submitted herewith sustaining this Objection in all respects and granting

such other and further relief as is just and proper.




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                                   NOTICE OF HEARING

        Notice is hereby given that the foregoing Objection will be heard by the Court on

September 28, 2011 at 9:30 a.m. (Prevailing Eastern Time) or as soon thereafter as counsel may

be heard in the United States Bankruptcy Court for the Eastern District of Kentucky, Third Floor

Courtroom, 100 East Vine Street, Lexington, Kentucky 40507.

Dated: August 29, 2011
       Lexington, KY


Respectfully Submitted,

       /s/ Adam R. Kegley
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Frost Brown Todd LLC
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Lexington, KY 40507
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-and-

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CREDITORS




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Objection was served on

this, the 29th day of August 2011, electronically to all parties receiving notice through the Court's

CM/ECF system and by First Class Mail, postage prepaid, to all creditors listed on Exhibits A

through G to the San Filippo Declaration.



                                                           /s/ Adam R. Kegley
                                                      CO-COUNSEL TO THE COMMITTEE
